       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Tina Marie Bryant
       v. Commonwealth of Virginia
       Record No. 0922-16-3
       Opinion rendered by Judge Decker on
        April 25, 2017

    2. Stephen Keith White
       v. Commonwealth of Virginia
       Record No. 1150-16-1
       Opinion rendered by Judge Petty on
        May 2, 2017
   The following case in which the Court of Appeals issued a published opinion has been
disposed of by the Supreme Court:

1. Donald Keith Epps
   v. Commonwealth of Virginia
   Record No. 0148-15-3
   Opinion rendered by Judge O’Brien
    on May 31, 2016
   Refused (161002)
         The Supreme Court issued opinions in the following cases, which had been appealed from this
Court:

             1. Joshua Charles Moseley
                v. Commonwealth of Virginia
                Record No. 0881-15-1
                Memorandum opinion rendered by Judge Decker on June 7, 2016
                Judgment of Court of Appeals reversed and final judgment entered reinstating
                 appellant’s conviction by opinion rendered on June 8, 2017
                (161013)

             2. Cordell Lionel Carter
                v. Commonwealth of Virginia
                Record No. 2261-14-3
                Memorandum opinion rendered by Judge O’Brien on May 31, 2016
                Judgment of Court of Appeals affirmed by opinion rendered on June 22, 2017
                (160993)
